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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                             Case No. lO-CV-80737-HURLEYIHOPKINS
         (Consolidated with Case No.lO-CV-80738-HURLEYIHOPKINS for the Receivership)

    UNITED STATES SECURITIES AND
    EXCHANGE COMMISSION,
    Plaintiff,

    v.

    TRADE-LLC, et aI.,
    Defendants,

    v.

    BD LLC, et aI.,
    Relief Defendants.
    ____________________________~I

    COMMODITY FUTURES TRADING
    COMMISSION,
    Plaintiff,

            v.

    TRADE-LLC, et aI.,
    Defendants,

    BD LLC, et aI.,
    Relief Defendants.
    ----------------------------~I
                         ORDER GRANTING FOURTH & FINAL
                         APPLICATION FOR ALLOWANCE OF
                   COMPENSATION AND REIMBURSEMENT OF EXPENSES
                   TO MARCUM, RECEIVER'S FORENSIC ACCOUNTANTS

            THIS MATTER came before the Court on the Fourth & Final Application for Allowance

    of Compensation and Reimbursement of Expenses to Marcum, Receiver's Forensic Accountants

    [DE 183] ("Marcum's Fee Application"), filed on October 12, 2012.          Having reviewed

    Marcum's Fee Application and being fully advised in the premises, it is:

                                                     EXHIBIT

                                               I        r3
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           ORDERED and ADJUDGED that Marcum's Fee Application [DE 183] is GRANTED.

    The Receiver is granted the authority to pay the fees and costs pursuant to Marcum's Fee

    Application.

           DONE and ORDERED in chambers, at Palm Beach County, Florida, this __ day of

    _ _ _ _ _ _ , 2012.



                                            DANIEL T.K. HURLEY
                                            UNITED STATES DISTRICT JUDGE




    Copies furnished to:
    Counsel of record




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